Case 2:03-cV-02953-.]DB-tmp Document 48 Filed 06/20/05 Page 1 of 3 Page|D 72

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IN THE UNITED sTATEs DISTRICT COURT ~ '~~ 1111
FoR THE WE$§S§§§§$§§$§OO; TENNESSEE 05 JUP¥ 29 AH ms 3b
TAMI BICKFORD, Nexr Friend ,'§(L;§F;:T:Hm}n,§;-@§§J
of DAVID MICHAEL sPooN, * 'N\ r.»f:~:t»i.,'>¢-»JS
Plaimiff,
v. No. 03-2953-B/P

LAUDERDALE COUNTY, TENNESSEE,
TODD WHITE and PHILLIP MORRIS,

Defendants.
ORDER ON MOTION FOR ADMISSION PRO HAC VICE

Mr. jim Waide has moved to appear m M _vi£ for plaintiff in this action. Mr. Waide
is licensed to practice law in the State of Mississippi, and is a member in good standing of the
United States District Courts for the Northern and Southern District of Mississippi, the United
States Court of Appeals for the Fifth Circuit and the United States Supreme Court. For good
cause shown, that motion is granted. It is hereby ordered that Jim Waide be admitted pn'_o ila_c
U and may actively participate in this action before this court.

IT IS SO ORDERED. -

 

. D NIEL BREEN
UNI ED STATES DISTRICT JUDGE

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Notice of Distribution

This notice confirms a copy of the document docketed as number 48 in
case 2:03-CV-02953 Was distributed by faX, mail, or direct printing on
June 20, 2005 to the parties listed.

 

 

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Case 2:03-cV-02953-.]DB-tmp Document 48 Filed 06/20/05 Page 3 of 3 Page|D 74

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Honorable J. Breen
US DISTRICT COURT

